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                        IN THE UNITED STATES DISTRICT COURT
                            FOR THE DISTRICT OF COLUMBIA


 AMERICAN CENTER FOR LAW
 AND JUSTICE,

        Plaintiff,

        v.                                             Civil Action No.: 1:21-cv-00932-CKK

UNITED STATES DEPARTMENT OF
JUSTICE,

        Defendant.




                         DECLARA TION OF MICHAEL              G. SEIDEL

       I, Michael G. Seidel, declare as follows:

       (1)      I am the Section Chief of the Record/Information   Dissemination Section

("RIDS"), Information Management Division ("IMD"), Federal Bureau ofInvestigation          ("FBI"),

Winchester, Virginia. I joined the FBI in September 2011, and prior to my current position, I was

the Assistant Section Chief of RIDS from June 2016 to July 2020; Unit Chief, RIDS Litigation

Support Unit from November 2012 to June 2016; and an Assistant General Counsel, FBI Office

of the General Counsel, Freedom ofInformation      Act ("FOIA") Litigation Unit, from September

2011 to November 2012. In those capacities, I had management oversight or agency counsel

responsibility for FBI FOIA and Privacy Act ("FOIP A") litigation cases nationwide. Prior to my

joining the FBI, I served as a Senior Attorney, U.S. Drug Enforcement Administration ("DEA")

from September 2006 to September 2011, where among myriad legal responsibilities, I advised

on FOIP A matters and served as agency counsel representing the DEA in FOIP A suits

nationwide. I also served as a U.S. Army Judge Advocate General's Corps Officer in various



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 assignments from 1994 to September 2006 culminating in my assignment as Chief, General

 Litigation Branch, U.S. Army Litigation Division where I oversaw FOIPA litigation for the U.S.

 Army. I am an attorney licensed in the State of Ohio and the District of Columbia.

        (2)     In my official capacity as Section Chief of RIDS, I supervise approximately 240

 FBI employees, supported by approximately 93 contractors, who staff a total often (10) Federal

 Bureau of Investigation Headquarters ("FBIHQ") units and two (2) field operational service

center units whose collective mission is to effectively plan, develop, direct, and manage

responses to requests for access to FBI records and information pursuant to the FOIA as

amended by the OPEN Government Act of2007, the OPEN FOIA Act of2009, and the FOIA

Improvement Act of2016; the Privacy Act of 1974; Executive Order 13526; Presidential,

Attorney General, and FBI policies and procedures; judicial decisions; and Presidential and

Congressional directives. My responsibilities also include the review of FBI information for

classification purposes as mandated by Executive Order 13526, 75 Fed. Reg. 707 (Jan. 5,2010)

and the preparation of declarations in support of Exemption 1 claims asserted under the FO IA.

The Section Chief, RIDS has been designated by the Attorney General of the United States as an

original classification authority and a declassification authority pursuant to Executive Order

13526, §§ 1.3 and 3.1, respectively.   The statements contained in this declaration are based upon

my personal knowledge, upon information provided to me in my official capacity, and upon

conclusions and determinations reached and made in accordance therewith.

       (3)     Because of the nature of my official duties, I am familiar with the procedures

followed by the FBI in responding to requests for information from its files pursuant to the

provisions of the FOIA, 5 U.S.c. § 552, and the Privacy Act of 1974,5 U.S.C. §552a.

Specifically, I am aware of the FBI's handling of Plaintiff's Freedom ofInformation    Act



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 ("FOIA") request for records pertaining to the FBI's knowledge and efforts surrounding a

 reported Chinese spy known as Christine Fang's, or Fang Fang's, lengthy relationship with

 Representative Eric Swalwell.

        (4)     In response to Plaintiff's request, the FBI issued a Glomar' response whereby the

 FBI refused to confirm or deny the existence or non-existence of responsive records based on

 FOIA Exemptions (b)(l), (b)(3), (b)(6), (b)(7)(C), and/or (b)(7)(E). This declaration is being

 submitted in support of Defendant's motion for summary judgment, and provides a summary of

the administrative history of Plaintiff's request; and the FBI's reasoning for neither confirming

nor denying the existence or non-existence of responsive records pursuant to FOIA Exemptions

(b)(l), (b)(3), (b)(6), (b)(7)(C), and (b)(7)(E).

              ADMINISTRATIVE         HISTORY OF PLAINTIFF'S FOIA REQUEST

        (5)     By letter dated December 16, 2020, Plaintiff submitted a FOIA request to the FBI,

requesting records "pertaining to the FBI's knowledge and efforts surrounding news reporting

that the Chinese spy known a Christine Fang, or Fang Fang, had a lengthy relationship with

Representative Eric Swalwell.2 The timeframe for the records requested was January 1,2011

through the date the request was processed (December 30. 2020). (Ex. A.)

       (6)      By letter dated December 30, 2020, the FBI acknowledged receipt of Plaintiff's

FOIA request and notified Plaintiff their request had been assigned FOIA Request Number

11484080-000.     Additionally, the FBI denied this request by issuing a Glomar response.



, The phrase "Glomar" stems from a case in which a FOIA requester sought information
concerning a ship named the "Hughes Glomar Explorer," and the CIA refused to confirm or deny
its relationship with the Glomar vessel because to do so would compromise the national security
or divulge intelligence sources and methods. Phillipi v. CIA, 655 F 2d. 1325 (D.C. Cir. 1981).
2 Considering Plaintiff summarizes this request as seeking records relating to an alleged spy's
association with Representative Eric Swalwell, the FBI reasonably interpreted Plaintiff's request
as seeking FBI investigative records related to these implicated espionage activities.

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 Specifically, the FBI informed Plaintiff it could neither confirm nor deny the existence of the

 requested records responsive to Plaintiffs request pursuant to FOIA Exemptions (b)(l), (b)(3),

 (b)(6), (b)(7)(C) and (b)(7)(E) of5 U.S.C.§ 552. The FBI is an intelligence agency as well as a

 law enforcement agency. In its capacity as an intelligence agency, the FBI compiles records

 while carrying out its responsibilities to investigate threats to national security and gather foreign

 intelligence. The FBI advised Plaintiff that the nature of their request implicated records the FBI

mayor may not compile pursuant to its national security and foreign intelligence functions.

Accordingly, the FBI could neither confirm nor deny the existence of any records about their

subject as the mere acknowledgment of such records existence or nonexistence would in and of

itself trigger harm to national security interests per Exemption (b)(1) and/or reveal intelligence

sources and methods per Exemption (b)(3); 50 U.S.C. § 3024(i)(1).         The FBI further advised

Plaintiff it would neither confirm nor deny the existence of such records pursuant to FOIA

exemptions (b)(6) and (b)(7)(C), 5 U.S.C. §§ 552 (b)(6) and (b)(7)(C). The mere

acknowledgement of the existence of FBI records on third party individuals could reasonably be

expected to constitute an unwarranted invasion of personal privacy. Additionally, the FBI

advised Plaintiff FOIA Exemption (b)(7)(E) protects "records or information compiled for law

enforcement purposes when disclosure would disclose techniques and procedures for law

enforcement investigations or prosecutions, or would disclose guidelines for law enforcement

investigations or prosecutions if such disclosure could reasonably be expected to risk

circumvention of the law." How the FBI applies its investigative resources against a particular

allegation, report of criminal activity, or perceived threat is, itself a law enforcement technique

or procedure the FBI protects pursuant to Exemption (b)(7)(E) of 5 U.S.C. § 552. The FBI

informed Plaintiff that they could appeal the FBI's response to the Department of Justice (DOJ),



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 Office of Information Policy (OIP) DOl within ninety (90) days of its letter, as well as contact

 the FBI's public liaison and/or seek dispute resolution services by contacting the Office of

 Government Information Services (OGIS).         (Ex. B.)

        (7)     By letter dated February 16,2021, Plaintiff submitted an appeal to DOl, OIP

challenging the FBI's December 30,2020 Glomar assertion in regards to FOIPA Request No.

 1484080-000. (Ex. C.)

        (8)     On March 3, 2021, DOl, OIP acknowledged receipt of Plaintiffs appeal and

informed them it was assigned OIP appeal number DOl-AP-2021-01184. (Ex. D.)

        (9)     On April 6, 2021, Plaintiff filed this instant action.

        (10)    By letter dated May 18, 2021, OIP notified Plaintiff their FO IA appeal was being

administratively closed since the FOIA request became the subject oflitigation.     (Ex. E.)

                               THE FBI's GLOMAR RESPONSE

        (11)    The FBI relies on a Glomar response in instances in which, assuming that

responsive records existed, even acknowledging their existence would result in harm protected

against by one or more FOIA exemptions.       To be credible and effective, the FBI must use a

Glomar response in all similar cases regardless of whether responsive records actually exist,

including instances in which the FBI does not possess records responsive to a particular request.

If the FBI were to invoke a Glomar response only when it actually possessed responsive records,

the Glomar response would be interpreted as an admission that responsive records exist.

       (12)    The FBI is a national security agency with dual intelligence and law enforcement

missions. As with other intelligence agencies, the FBI's carries out its intelligence mission

covertly, which is necessary to maintain its effectiveness in protecting the national security of the

United States. Thus, in some instances, the mere confirmation or denial of the existence or



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 nonexistence of records responsive to a FOIA request would itself reveal intelligence sources

 and methods and/or unknown law enforcement techniques and procedures.            The FBI has

 determined that merely acknowledging the existence or non-existence of records responsive to

Plaintiff's request would trigger harms under FOIA Exemptions (b)(l), (b)(3), and (b)(7)(E) as it

would reveal unknown details concerning the FBI's potential application of intelligence sources,

methods and activities. Moreover, it would potentially associate particular third party

individuals, a purported Chinese spy known a Christine Fang, or Fang Fang, and Representative

Swalwell with FBI law enforcement or intelligence activities causing a clearly unwarranted

invasion of these individuals' personal privacy interests. As such, the FBI also cannot confirm

or deny the existence of records to avoid harms protected against by FOIA Exemptions (b)(6)

and (b)(7)(C).

        (13)     The FBI's determination that a Glomar response is necessary here flows from the

particular subject matter of Plaintiff's request, which is specifically related to the collection and

dissemination of intelligence information about particular individuals.

       (14)      The FBI's Glomar response here is justified because revealing the existence or

non-existence of responsive records:

                 A.     is classified in the interest of national security, see 5 U.S.C. § 552(b)(1);

                 B.     would risk disclosure of information protected by statute, specifically the

National Security Act of 1947, see id. § 552(b)(3);

                 C.     could reasonably be expected to reveal non-public information about the

FBI's use of law enforcement techniques and procedures in a way that risks circumvention of the

law, see 5 U.S.C. § 552(b)(7)(E); and




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                   D.     would unwarrantedly invade the personal privacy interests of the third

 parties listed in the request.

         (15)      The FBI has not made any official public disclosures confirming or denying

 whether or not it has collected intelligence information about third party subjects of Plaintiff's

 request, or whether or not it has disseminated such information.     Accordingly, the FBI must rely

 on a Glomar response to Plaintiff's request, based on Exemptions (b)(1), (b)(3), (b)(6), (b)(7)(C),

 and (b)(7)(E).

                                      FOIA EXEMPTION (b)(l)

        (16)      Exemption (b)(1) protects records that are: "(A) specifically authorized under

criteria established by an Executive order to be kept secret in the interest of national defense or

foreign policy and (B) are in fact properly classified pursuant to such Executive order." 5 U.S.C.

§ 552(b)(1). Executive Order 13526 currently governs classification.        It provides for the

protection of intelligence activities, sources, and methods. See E.O. 13526, § 1.4(c).

        (17)      As previously explained, Plaintiff seeks records related to the FBI's knowledge

and efforts surrounding news reports that the Chinese spy known a Christine Fang, or Fang Fang,

had a lengthy relationship with Representative Eric Swalwell. As an original classification

authority, I have determined the existence or non-existence of records relevant to a potential

investigationof    alleged espionage activities involving third party subjects, by their nature, would

concern intelligence sources and methods; and their existence/nonexistence       is a classified fact

under E.O. 13526 and protected from disclosure. Thus, the FBI cannot confirm or deny the

existence of records without risking the revelation of a classified fact.

        (18)      E.O. 13526, which currently governs the classification of national security

information, establishes four requirements for classification: (1) an original classification



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 authority classifies the information; (2) the U.S. Government owns, produces, or controls the

 information; (3) the information is within one of eight protected categories listed in section 1.4 of

 the Order; and (4) the original classification authority determines that the unauthorized

 disclosure of the information reasonably could be expected to result in damage to the national

 security, and identifies or describes that damage. Exec. Order No. 13526, § 1.1(a), 75 Fed. Reg.

 707, 707 (Dec. 29, 2009).

         (19)   The categories of information listed in section 1.4 include information that

"pertains to ... intelligence activities" or "intelligence sources or methods." Jd. § 1.4(c).

        (20)    E.O. 13526 further provides that "[a]n agency may refuse to confirm or deny the

existence or nonexistence of requested records whenever the fact of their existence or

nonexistence is itself classified under this order or its predecessors."   Jd. § 3.6(a).

        (21)    As stated supra, I have determined the existence or nonexistence of records

responsive to Plaintiffs FOIA request is classified; acknowledging whether or not records exist

would tend to confirm or disprove the FBI's responsibilities and capabilities in investigating

threats to national security and foreign intelligence functions and intelligence gathering methods

regarding information against particular individuals during a specified period of time.

        (22)    Any records responsive to Plaintiffs request would necessarily be held by the

FBI, and would therefore be "under the control of the United States Government."           Id.

§ 1.1(a)(2).

        (23)    The existence or nonexistence of such records "pertains to ... intelligence

activities" or "intelligence sources or methods." Id. § 1.4(c). An intelligence activity or method

includes any intelligence action or technique utilized by the FBI against a targeted individual or

organization that has been determined to be of national security interest, and includes any



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procedure (human or non-human) utilized to obtain information concerning such individual or

organization. An intelligence activity or method has two characteristics.      First, the intelligence

activity or method, and information generated by it, is needed by United States

Intelligence/Counterintelligence    agencies to carry out their missions. Second, confidentiality

must be maintained with respect to the use or non-use of the activity or method, including

intelligence sources, if the viability, productivity, and usefulness of the activity, method, and

source are to be preserved.

         (24)   Intelligence activities, methods, and sources must be protected from disclosure in

every situation in which a certain intelligence capability, technique, or interest-or    its specific

use-is   unknown to the groups against which it is deployed, since those groups could take

countermeasures to nullifY its effectiveness.    Intelligence activities, methods, and sources are

valuable only so long as they and/or their use under particular circumstances or against particular

targets remains unknown and unsuspected.        Once the fact of an intelligence activity, method, or

source's use or non-use in a certain situation or against a certain target is discovered, its

continued successful use is seriously jeopardized.

         (25)   The U.S. Government must do more than prevent explicit references to an

intelligence activity, method, or source; it must also prevent indirect references to them. One

vehicle for gathering information about the U.S. Government's capabilities is by reviewing

officially-released information.   We know that terrorist organizations and other hostile or

Foreign Intelligence groups have the capacity and ability to gather information from myriad

sources, analyze it, and deduce means and methods from disparate details to defeat the U.S.

Government's collection efforts. Thus, even seemingly innocuous, indirect references to an




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 intelligence activity, source, or method could have significant adverse effects when juxtaposed

 with other publicly-available data.

         (26)    Here, acknowledging the existence or non-existence of records responsive to

 Plaintiff s request could tend to confirm or refute the FBI's use of intelligence methods for

 gathering intelligence data on a particular intelligence activity or method against particular

 individuals during a specific period of time. Such an acknowledgement could suggest non-

public information regarding the nature of the FBI's intelligence interests, priorities, activities,

and methods-information        that is desired by adversaries who seek to thwart the FBI's

intelligence-gathering   mission. Admitting the existence of records immediately confirms to an

alleged spy and possible hostile foreign intelligence services the ability of FBI intelligence

sources and methods to detect and thwart foreign intelligence operations targeted against United

States politicians; and the FBI's priorities and targeting methodology relevant to reports of such

alleged espionage activities. Revealing this information would not only allow the possible target

in this instance to immediately deploy countermeasures to thwart the FBI's intelligence source

and methods, it would also allow the United States' foreign adversaries to predict and

circumvent the FBI's application of these sources and methods in future similar circumstances.

As such, confirming the existence of records would reduce the effectiveness of intelligence

sources and methods and cause harm to national security.

        (27)    Conversely, revealing the FBI does not possess records on this subject could

confirm to an alleged spy the FBI's inability to detect or prevent their espionage activities. This

would reveal gaps in gathered intelligence and key information about the limitations of FBI

intelligence sources and methods used to uncover hostile activities, allowing for further

exploitation of these vulnerabilities.   Moreover, it would confirm to a potential espionage target



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    the tradecraft they utilized was effective and allow them and hostile foreign intelligence services

    to judge how they might continue to employ such techniques to continue to gather intelligence

    against and undermine the national security of the United States. As such, denying the existence

    of records would also cause harm to national security.

           (28)     The determination that the existence or nonexistence of the requested records is

 classified has not been made to conceal violations of law, inefficiency, or administrative error; to

prevent embarrassment to a person, organization, or agency; to restrain competition; or to

prevent or delay the release of information that does not require protection in the interests of

national security. 3

                                        FOIAEXEMPTION         (b)(3)

           (29)     Exemption (b)(3) protects information "specifically exempted from disclosure by

statute" where the statute "establishes particular criteria for withholding or refers to particular

types of matters to be withheld."      5 U.S.C. § 552(b)(3)(B).   Here, the statute on which the FBI

relies is the National Security Act of 1947, as amended, which provides that the Director of

National Intelligence ("DNI") "shall protect intelligence sources and methods from unauthorized

disclosure."      50 U.S.C. § 3024(i)(I).

          (30)     As relevant to the FBI's assertion of Exemption (b)(3), the National Security Act

of 1947 was enacted before the date of enactment of the OPEN FOIA Act of2009.             On its face,

this federal statute leaves no discretion to agencies about withholding from the public




3 To the extent possible on the public record, I have explained the harm to the national security
that would result from confirming or denying the existence or nonexistence of responsive records
here. If the Court finds that explanation inadequate, the FBI could offer further explanation ex
parte and in camera.

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 information about intelligence sources and methods. Thus, the protection afforded to

 intelligence sources and methods by 50 U.S.C. § 3024(i)(1) is absolute.

         (31)     In order to fulfill its obligation of protecting intelligence sources and methods, the

 DNI is authorized to establish and implement guidelines for the Intelligence Community ("IC")

for the classification of information under applicable laws, Executive Orders, or other

Presidential Directives, and for access to and dissemination of intelligence.     50 U.S.C.

§ 3024(i)(1). The FBI is one of the member agencies comprising the IC, and as such must

protect intelligence sources and methods.

         (32)     Disclosure of intelligence source and method information presents the potential

for adversaries to develop and implement countermeasures, which would result in the loss of

critical intelligence information relied upon by national policymakers and the IC.

        (33)      As described above, acknowledging the existence or non-existence of records

responsive to Plaintiffs request would provide information about how the FBI investigates

threats to national security and its foreign intelligence functions. The disclosure of this

information could reasonably be expected to cause serious damage to the national security, as it

would: (a) reveal the actual intelligence activity or method utilized by the FBI against a specific

target; (b) disclose the intelligence-gathering   capabilities of the method; and (c) provide an

assessment of potential foreign intelligence source penetration of a specific target during a

specific period of time.    Thus, the requested information, if it existed, would pertain to

"intelligence sources and methods," and must therefore be "protect[ ed] ... from unauthorized

disclosure."    50 U.S.C. § 3024(i)(1).




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           (34)   Accordingly, the National Security Act, in conjunction with Exemption (b)(3),

provides an additional and independent basis for the FBI's Glomar response to Plaintiff s

request.

                                      Exemption (b)(7) Threshold

           (35)   Before an agency can invoke any of the harms enumerated in Exemption (b)(7), it

must first demonstrate that the records or information at issue were compiled for law

enforcement purposes. Law enforcement agencies such as the FBI must demonstrate that the

records at issue are related to the enforcement of federal laws and that the enforcement activity is

within the law enforcement duty of that agency.

           (36)   Pursuant to 28 U.S.C. §§ 533 and 534, Executive Order 12333 as implemented by

the Attorney General's Guidelines for Domestic FBI Operations ("AGG-DOM"), and 28 C.F.R.

§ 0.85, the FBI is the primary investigative agency of the federal government, with authority and

responsibility to investigate all violations of federal law not exclusively assigned to another

agency; to conduct investigations and activities to protect the United States and its people from

terrorism and threats to national security; and to further the foreign intelligence objectives of the

United States.

          (37)    Plaintiffs request stated that it sought "records pertaining to the FBI's knowledge

and efforts surrounding" the alleged relationship between a reported Chinese spy and

Representative Swalwell that was allegedly part of a foreign intelligence operation. Responsive

FBI records, if any exist, about the FBI's knowledge and efforts regarding that alleged foreign

intelligence operation would be records compiled for purposes of the FBI's law enforcement

duties.




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                            FOIA EXEMPTIONS           (b)(6) AND (b)(7)(C)

        (38)    Exemption (b)(6) exempts from disclosure "personnel and medical files and

 similar files the disclosure of which would constitute a clearly unwarranted invasion of personal

privacy." 5 U.S.c. § 552(b)(6). All information that applies to a particular person falls within

the scope of Exemption (b)(6).

        (39)    Exemption (b)(7)(C) exempts from disclosure "records or information compiled

for law enforcement purposes [when disclosure] could reasonably be expected to constitute an

unwarranted invasion of personal privacy." 5 U.S.C. § 552(b)(7)(C).

        (40)    The FBI asserts Exemption (b)(6) in conjunction with Exemption (b)(7)(C).

Although the balancing test for Exemption (b)(6) uses a "would constitute a clearly unwarranted

invasion of personal privacy" standard and the test for Exemption (b)(7)(C) uses the lower

standard of "could reasonably be expected to constitute an unwarranted invasion of personal

privacy," the analysis and balancing required by both exemptions is sufficiently similar to

warrant a consolidated discussion. The privacy interests are balanced against the public's

interest in disclosure under the analysis of both exemptions.

        (41)   Pursuant to long-standing policy, the FBI will not confirm or deny the existence

of law enforcement records about a third party in the absence of a privacy waiver or proof of

death, unless the requester establishes a public interest in disclosure that outweighs the third

party's privacy interests. The FBI instituted this policy in order to protect the privacy rights of

individuals, particularly those who appear in FBI law enforcement files. It is well-recognized

that individuals have substantial privacy interests in relation to being associated with law

enforcement investigations because any such association can engender comment, speculation, or

harassment; can be embarrassing and stigmatizing; and can, in some circumstances, result in



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physical harm or threats of harm or death. Statements by an individual alluding to or

acknowledging an association with a law enforcement investigation do not extinguish his privacy

interests or constitute a waiver of privacy interests.

        (42)    If a requester establishes a public interest, then the FBI will balance that public

interest against the third party's privacy interests. This balancing is done on a case-by-case

basis. The FBI will process a request for, and release non-exempt law enforcement records

about, a third party only ifit determines that the public interest outweighs the individual's

privacy interests after conducting the balancing analysis. The balancing analysis in each case is

necessarily fact-specific.   Thus, each request must be treated individually, and the FBI must

retain flexibility in the way in which it handles each request.

        (43)    Here, Plaintiff has not submitted privacy waivers from anyone and to the FBI's

knowledge, neither of the subjects of Plaintiffs FOIPA request is deceased. Moreover, Plaintiff

failed to establish a public interest sufficient to override these individuals' privacy interests and

warrant the non-consensual disclosure of records - if they exist - about them.

        (44)    For purposes of Exemptions (b)(6) and (b)(7)(C), a public interest exists when

disclosure of information about an individual would significantly increase the public's

understanding of FBI operations and activities. The balancing of interests under Exemptions

(b)(6) and (b)(7)(C) also considers the privacy interests of the individuals implicated in a FOIA

request. Here, Plaintiff is seeking records that, if they exist, would publicly connect these

individuals to sensitive law enforcement, national security, and foreign intelligence operations of

the FBI. Public disclosure could reasonably be expected to draw negative and unwanted

attention to these individuals, could result in them receiving harassing inquiries, and otherwise




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 stigmatize and adversely affect them. Accordingly, the FBI concluded that they maintain

 substantial privacy interests here.

         (45)    Balanced against these substantial privacy interests, Plaintiff only provides

 unproven claims of an FBI investigative interest, and no real description of how providing public

access to records (if they exist), would expand public knowledge of FBI activities, beyond those

related to a very narrow incident involving alleged espionage activities directed at a United

States Congressman.       Additionally, the fact that United States' foreign adversaries direct

espionage efforts against lawmakers does not seem to be groundbreaking, or even surprising,

considering lawmakers typically have ready access to classified or sensitive government

information and would seemingly be prime targets of espionage activities. Therefore, any

additional public understanding to be gained through release of records responsive to Plaintiffs

request is not sufficient to override the very significant privacy interests of the individuals listed

in Plaintiff s request.

        (46)    Finally, Plaintiff provides no evidence the FBI ever official disclosed whether or

not it has ever had investigative interest in these matters. News reports provided by Plaintiff are

based on public news sources and do not constitute evidence of actual FBI investigative interest,

nor does this constitute public acknowledgement by the FBI.        The publicly available information

Plaintiff provides alleges ties between suspected Chinese intelligence operative Christine Fang to

U.S. congressional representative Eric Swalwell, but provides no proof of investigative interest

in these subjects on the part of the FBI was ever disclosed under circumstances in which an

authoritative government official allowed the specific information to be made public.

       (47)     In sum, Plaintiffs claimed public interest is largely speculative. In contrast, the

individuals listed in their request have very tangible and significant privacy interests in the FBI



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neither confirming nor denying whether responsive records about them exist. Accordingly, the

FBI concluded that Plaintiff had not established a public interest sufficient to warrant intruding

on these individuals' privacy interests by acknowledging whether or not responsive records exist.

                                       EXEMPTION (b)(7)(E)

        (48)    FOIA Exemption (b)(7)(E) protects "records or information compiled for law

enforcement purposes [when disclosure] would disclose techniques and procedures for law

enforcement investigations or prosecutions, or would disclose guidelines for law enforcement

investigations or prosecutions if such disclosure could reasonably be expected to risk

circumvention of the law." 5 U.S.c. § 552 (b)(7)(E). This exemption affords categorical

protection to techniques and procedures used in law enforcement investigations; it protects

techniques and procedures that are not well-known to the public as well as non-public details

about the use of well-known techniques and procedures.

        (49)    How the FBI applies its investigative resources (or not) against a particular

allegation, report of criminal activity, or perceived threat - to include when and against whom

the FBI seeks to target for investigations, is itself a law enforcement technique or procedure that

the FBI protects pursuant to Exemption (b)(7)(E).

        (50)   As previously demonstrated, acknowledging or denying the existence or non-

existence of the law enforcement records Plaintiff seeks would be tantamount to confirming or

denying whether or not the FBI investigated certain individuals based on unproven allegations of

espionage. Even in acknowledged investigations, the FBI does not routinely disclose whether or

not it is or is not investigating a particular individual, nor does it routinely disclose how and

when received intelligence is deemed actionable. Indeed, the very concept of investigations is

that they are conducted covertly. Acknowledging how, when and under what circumstances the



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FBI relies upon authorized law enforcement techniques, procedures and guidelines for

investigative activities would create opportunities for individuals and adversaries to then be able

alter their behavior to avoid attention by law enforcement, making it more difficult for the FBI to

be proactive in assessing and investigating national security threats. Therefore, the FBI can

neither confirm nor deny the existence of records responsive to Plaintiffs request without

causing harms protected against by FOrA Exemption (b)(7)(E).

                                         CONCLUSION

       (51)    In reviewing Plaintiff s request, the FBI determined it could neither confirm nor

deny whether it possesses records responsive to Plaintiffs request, pursuant to FOIA

Exemptions (b)(l), (b)(3), (b)(6), (b)(7)(C), and (b)(7)(E) because merely confirming or denying

the existence of such records would reveal classified information and intelligence source and

method information prohibited from disclosure by statute; could reasonably be expected to

invade third parties' privacy interests; and/or would reveal non-public information about

sensitive law enforcement techniques or procedures.




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       Pursuant to 28 U.S.c. § 1746, I declare under penalty of perjury that the foregoing is true

and correct, and that Exhibits A through F attached hereto are true and correct copies.


       Executed this   /7tf        September 2021.




                                             Section Chief
                                             Record/Information Dissemination Section
                                             Information Management Division
                                             Federal Bureau of Investigation
                                             Winchester, Virginia




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